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AO 199A (Rev. ) Order Setting Conditions of Release                                                     Page 1 of   4   Pages



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Eastern District
                                                      __________  DistrictofofVirginia
                                                                               __________


                    United States of America                             )
                               v.                                        )
               LUIS ALONSO ARGUETA-DIAZ                                  )        Case No. 3:25MJ054
                                                                         )
                               Defendant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

     The defendant must not violate federal, state, or local law while on release.

     The defendant must cooperate in the collection of a DNA sample if it is authorized by  U.S.C. § .

     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

     The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:                                             United States Courthouse
                                                                                           Place
                                                               100 North Church Street, Las Cruces, NM 88001

      on                                                            6/4/2025 9:00 am
                                                                        Date and Time
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      If blank, defendant will be notified of next appearance.                          $77251(<2535(75,$/352%$7,21

(5)   The defendant must sign an Appearance Bond, if ordered.
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                                                                  ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

( ✔ ) (6)    The defendant is placed in the custody of:
             Person or organization          Jose Abel Argueta-Diaz

             Address (only if above is an organization)         on file with Pretrial
             City and state                                                                              Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                                                   Signed:
                                                                                                                                           Custodian                                                 Date
( ✔ ) (7) The defendant must:
     ( ✔ ) (a) submit to supervision by and report for supervision to the Probation and Pretrial Services Office                                 ,
               telephone number             804-916-2500          , no later than    today, prior to exiting the courthouse .
     ( ✔ ) (b) continue or actively seek employment.
     (   ) (c) continue or start an education program.
     ( ✔ ) (d) surrender any passport to:        Pretrial Services or your attorney.

     ( ✔ ) (e) not obtain a passport or other international travel document.
     ( ✔ ) (f) abide by the following restrictions on personal association, residence, or travel: No travel outside of the Commonwealth of Virginia or the District of New
                       Mexico without the permission of the Court or Pretrial Services. All travel between New Mexico and Virginia shall be by the most direct route.

       ( ✔ ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                 including: co-defendant, co-conspirator, informant, juror, grand juror, officer or agent of the US, local law enforcement officer, or any person defendant suspects is acting in those capacities
                       without permission of the Court. Defendant may meet with AUSA on advice of counsel. This includes the minor victim outlined in the complaint and her family.
       (     ) (h) get medical or psychiatric treatment:                              Submit to mental health evaluation and comply with any recommended treatment, if directed.


       (     ) (i) return to custody each                                       at                   o’clock after being released at                                    o’clock for employment, schooling,
                   or the following purposes:

       (   ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                 necessary.
       ( ✔ ) (k) not possess a firearm, destructive device, or other weapon. $OOILUHDUPVVKDOOEHUHPRYHGIURPWKHUHVLGHQFHEHIRUHUHOHDVH
       ( ✔ ) (l) not use alcohol ( ✔ ) at all (          ) excessively.
       ( ✔ ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                 medical practitioner. 7KLVVKDOOLQFOXGHPDULMXDQD
       ( ✔ ) (n) submit to testing for a prohibited substance, if required by the pretrial services office or supervising officer. Testing may be used with
                 random frequency and may include urine testing, wearing a sweat patch, submitting to a breathalyzer, and/or any other form of
                 prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                 accuracy of substance screening or testing of prohibited substances.
       (   ) (o) participate in a program of inpatient or outpatient substance use treatment, if directed by the pretrial services office or supervising
                 officer.
       ( ✔ ) (p) participate in the remote alcohol testing program using continuous electronic alcohol testing and comply with its requirements as
                 directed, including not consuming alcohol. 7KLVVKDOOEHDWWKHGLUHFWLRQRI3UHWULDO6HUYLFHV
                 (    ) pay all or part of the cost of remote alcohol testing, including equipment loss or damage, based upon your ability to pay, as
                        determined by the pretrial services or supervising officer.
       ( ✔ ) (q) participate in the location monitoring program and comply with the requirements, as directed in subsections i, ii, and iii.
                        i. Following the location restriction component (check one):
                       (   ) (1) Curfew. You are restricted to your residence every day (          ) from                   to                 , or (   ) as
                                   directed by the pretrial services office or supervising officer; or
                       ( ✔      ) (2) Home Detention. You are restricted to your residence at all times except for employment;
                                   medical, substance DEXVH, or mental health treatment; attorney visits; court appearances; court-ordered obligations; activities
                                      approved by the court; or essential activities approved in advance by the pretrial services office or supervising officer; or
                       (     ) (3) Home Incarceration. You are restricted to 24-hour-a-day lockdown at your residence except for medical necessities and
                                  court appearances or activities specifically approved by the court; or
                       (     ) (4) Stand-Alone Monitoring. You have no residential component (curfew, home detention, or home incarceration) restrictions.
                                  However, you must comply with the location or travel restrictions as imposed by the court. Note: Stand-alone monitoring
                                  should be used in conjunction with global positioning system (GPS) or virtual mobile application technology.
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                                                                      ADDITIONAL CONDITIONS OF RELEASE

                 (ii) submit to the following location monitoring technology (check one):
                      ( ✔ ) (1) Location monitoring technology as directed by the pretrial services or supervising officer; or
                      (   ) (2) GPS; or
                      (   ) (3) Radio Frequency; or
                      (   ) (4) Voice Recognition; or
                      (   ) (5) Virtual Mobile Application. You must allow the pretrial services or supervising officer to conduct initial and periodic
                                  inspections of the mobile device and mobile application to verify that 1) the monitoring software is functional, 2) the
                                  required configurations (e.g., locational services) are unaltered, and 3) no efforts have been made to alter the mobile
                                  application.
               (iii) ( ✔ ) pay all or part of the cost of location monitoring, including equipment loss or damage, based upon your ability to pay, as
                            determined by the pretrial services or supervising officer
       ( ✔ ) (r) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                 questioning, or traffic stops.
       ( ✔ ) (s) maintain contact with your attorney. If you are found guilty or plead guilty you must report to a probation officer for the purpose of preparation of a presentence report. In the event that you are found
                       guilty or plead guilty, you must be prepared to go immediately to jail if the law so requires or if the court determines in light of your conviction that detention is appropriate.


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AO 199C (Rev. 09/08) Advice of Penalties                                                                       Page   4       of   4    Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more – you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years – you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony – you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor – you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                         Defendant’s Signature



                                                                                              City and State



                                               Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.
( ✔ ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
      has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
      the appropriate judge at the time and place specified.


Date:                                                                                              /s/
                                                                                       Judicial Officer’s Signature

                                                                          Mark R. Colombell U.S. Magistrate Judge
                                                                                          Printed name and title




                    DISTRIBUTION:      COURT     DEFENDANT       PRETRIAL SERVICE        U.S. ATTORNEY         U.S. MARSHAL
